           Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 1 of 20




                                  IN THE SUPERIOR COURT OF FULTON
                                    COUNTY BUSINESS CASE DIVISION
                                          STATE OF GEORGIA




 ALIERA HEALTHCARE,              INC.


            Plaintiff/Counterclaim
            Defendant,                                            CIVIL ACTION FILE NO.
                                                                  201 80V308981
                        V.




 ANABAPTIST HEALTHSHARE;
 and
 UNITY HEALTHSHARE, LLC,                                            Business Case          Div.   |




        Defendants/Counterclaimants,

                                                                    Hon. Alice D. Bonner
 ALEXANDER CARDONA;                and
 TYLER HOCHSTETLER,

         Defendants.



                                          RECEIVER'S INITIAL REPORT



Marshall Glade, not individually, but as Court-appointed Receiver (“Glade” or “Receiver”) to

oversee the legacy Unity Health Care Sharing Ministry (“HCSM”) plans and                              to   oversee   all   Unity

HCSM     plan assets during the        pendency   of the litigation   between the parties pursuant               to   O.C.G.A §

9-8—1   and the   April 25,   2019 Order entered by     this   Court appointing Glade as Receiver (the

“Order”),   files this initial report.   The purpose ofthe      initial   report   is   to provide the       Court and      all


interested parties with a description of the nature of the Receiver’s activities, investigations,

analysis, observations,       and recommendations        to date.
          Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 2 of 20




                                                           Table of Contents


1.0      Introduction          .......................................................................................................................   3

2.0      Executive         Summary .......................................................................................................... 4
3.0      Background            .......................................................................................................................   8

4.0      Receiver’s Activities              .......................................................................................................    10

  4.1          Member Payments .........................................................................................................               10

  4.2      Management Fees .........................................................................................................                   1 1


  4.3      Healthcare Expenses ..................................................................................................... 11

  4.4      Scenario Analysis of Financial Results                        ..........................................................................    12

  4.5      Development of Plan Termination .................................................................................. 12
5.0     Receiver’s Preliminary Observations                            & Analysis         .........................................................    12

  5.1      Commingled Funds ........................................................................................................ 12
  5.2      Unreliable        and Incomplete            Unity Financial Statements                 ..................................................   13

      5.2. 1    Member Payments /Application Fees ..........................................................................                           13

      5.2.2     Management Fees ....................................................................................................... 14
  5.3      Scenario Analysis of Financial Results                        ..........................................................................    15

      5.3. 1 Allocation       of Member Payments for Bundled Products ................................................. 17

      5.3.2     Management Fees ....................................................................................................... 17
      5.3.3     TPA Expense — HealthScope ....................................................................................... 18
6.0     Next Steps ........................................................................................................................ 18

  6.1      Determination of Funds                 in Aliera’s     Possession Corresponding                    to Unity     HCSM       ..............   18

  6.2      Preparation of          GAAP Financial Statements ...................................................................                       18

  6.3      Plan Termination and Segregation of Funds .................................................................. 19
                Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 3 of 20




1.0      Introduction

1.       On     April 25,     2019 the Superior Court                of Fulton      County Business Case Division (the “Court”)

         appointed Glade as the Receiver to oversee Unity                              HCSM           plans and plan assets.


2.       To     assist   in   his work, the   Receiver retained the services of GlassRatner professionals. The

         Receiver, along with other GlassRatner professionals, met on                                             numerous occasions           with

         individuals familiar with Unity’s financial processes                             and other        affairs   and reviewed various

         relevant documents.


3.       The Receiver’s          duties and responsibilities as set forth                       in   the Court’s April 25, 2019 Order are

         as   follows1;:


           a)     “Oversee the legacy Unity                HCSM plans               and    to   oversee     all   Unity    HCSM   plan assets
                                                                          ”
                  during the pendency of this              litigation.



           b)     “Receiver shall have complete access to books and records ofAliera and Unity that the

                  receiver determines, subject to the direction of the Court, are necessary to                                       fulfill    the

                  duties set fon‘h in this Order.”


           c)     ”Examine       Aliera’s   and     Unity’s      books and records as necessary                       to   determine the   total

                  amount of funds in Aliera’s possession,                         custody, or control corresponding to Unity             HCSM
                  component of member plans.”

           d)     “Receiver shall have        all   ﬁnancial access                and audit rights necessary to conﬁrm the proper
                  allocation,    as well as payment of claims and expenses”.

           e)     “Receiver      Will   have access        to   and oversight of the use of Unity                  HCSM member funds to
                  pay for the claims administration services provided by A/iera, Healthscope, and any other
                  entities providing        approved administration or other necessary services                                 for the Unity
                                    ”
                  HCSM plans.

           f)     “Receiver also has review and audit rights With respect                               to Aliera’s administration      of Unity

                  HCSM Claims to ensure Aliera is administering the members’ plans and paying member
                                                                                       ”
                  claims consistently With the plan documents.


4.       The analyses performed, and                  to    be performed, by the Receiver                     will    require the scrutiny of

        financial information.            GlassRatner           is   not a public accounting firm. While our work                 may   involve




l
    Page 29 — 30 of Order Entering Interlocutory Injunction and Appointing Receiver (Appendix                              1)
                                                                              3
                Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 4 of 20




          analysis of accounting records,                      it   does not include an audit or review                        of existing records              in


          accordance with generally accepted auditing standards or standards                                            for    review engagements?


2.0       Executive            Summam
5.        In    2016, Aliera approached Anabaptist Healthshare (“AHS”) about developing a business

          relationship. Aliera sold a direct primary care medical                                   home     product (“DPCMH”) which focuses

          on preventative and primary care.                          AHS          sold an         HCSM      product, which           is   an alternative        to

          traditional         insurance products where                    members            of similar religious/faith beliefs share                     in   the

          health care costs of               its   members.          Aliera         proposed combining            its   DPCMH             product with the

          HCSM          product for the benefit of a comprehensive offering to the public, as illustrated                                           in    Chart

          1    below.       The   HCSM        product    was        to   be offered by Unity Healthshare, LLC, a whoIIy-owned

          subsidiary of           AHS.


                                                                                   Chart      1




                                     -——>     Contributions         —*               Bundled
                                     <—     Progam Membership       4—               Products




                                                                              Allocation of Contributions




6.        In   February 201 7,         AHS and Aliera signed an                         agreement authorizing Aliera                to sell the   combined

          DPCMH             and   HCSM      product and administer the plans.


7.        As    part of the Receiver’s Order,                 we have examined                     Unity’s   books and records maintained by

          Aliera       in   order to assess the operating financial results from January                                1,    2017 through June                30,




2
     An Audit   is   an independent examination 0f accounting and ﬁnancial records and ﬁnancial statements to determine if they conform to the
law and   t0 generally     accepted accounting principles (GAAP). A Review is a service under which the accountant obtains limited assurance
that there are   no material modiﬁcations that need     t0   be made     to   an entity's ﬁnancial statements for them to be   in   conformity with the
applicable ﬁnancial reporting framework. such as        GAAP.
                                                                                    4
              Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 5 of 20




         2019.       GlassRatner focused                  its    efforts   on examining and analyzing member payments,

         management             fees, healthcare sharing expenses, financial results                          and development of a plan

         termination.



8.       The documents                relied   upon   for our analysis included            bank statements, QuickBooks                files,   the

         member          database, a healthcare sharing expense register,                              management            fee calculations,

         contribution fee allocations                 and other supporting documentation.


9.       Per the Court’s Order, the “Receiver shall examine Aliera’s and Unity’s books and records as

         necessary        to    determine the          total    amount of funds       in Aliera’s     possession, custody, or control

         corresponding to the Unity                    HCSM            component of member plans”.                 Aliera controlled           and

         managed         all    cash receipts and disbursements. Depending on the operating results                                      of the

         HCSM       component, Aliera would either owe funds                         to Unity or Unity        would owe funds         to Aliera.

         For example,           if   the operating results of the          HCSM component resulted               in   Net Assets      (Le. Unity

         contributions less Unity disbursements) of                         $10   million, Aliera     would owe $10           miIlion to Unity.

         By     contrast,      if    the operating results of the            HCSM     component         resulted      in   a Net Deficit   (i.e.,


         Unity disbursements exceed Unity contributions) of                               $10   million, Unity    would owe $10          million

         to Aliera.      Based on our procedures and analyses                        to   assess the     financial         performance    of the

         Unity component,               we made       the following observations:


           a)     Aliera       Commingled Funds —                       Aliera   used a single bank account                    in   which they

                  commingled funds              related to       its   business venture with Unity and            their     non-Unity related

                  interests with other partners. All Unity                  and non—Unity member payments were deposited

                  into   a single bank account exclusively controlled by Aliera.


           b)     Unreliable and Incomplete Unity Financial Statements                                    — Our review         of the internal

                  unaudited financial statements and supporting documentation showed errors associated

                  with Aliera’s accounting for                  member payments,          fee applications and             management      fees.

                  Accordingly,          we were       unable     to rely   on the   financial   statements produced by Aliera.


           c)     Scenario Analysis of Financial Results — Due                                       to the    lack of reliable financial

                  statements,            GlassRatner developed                   schedules      to    calculate       the    actual    financial

                  performance. The underlying data provided by Aliera allowed GlassRatner to analyze

                  the performance of the Unity                   HCSM      plans.    We noted        the Agreement did not expressly

                  allocate the percentage of                     member payments             associated with the Aliera                DPCMH


3
    Order Entering Interlocutory Injunction and Appointing Receiver, page 29.
                                                                            5
        Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 6 of 20




           component and the percentage                  of       member        contributions associated with the Unity

           HCSM     component. The proper allocation                     is   a dispute between the parties that            is   before

           the Court     in this litigation.    The Agreement             also did not expressly state that Unity would

           be responsible          for   expenses associated with the                third-party administrator,      whether such

           expenses are        to    be   allocated,   and   if   so, the allocation of       such expenses. The disputed

           issues have a material impact on the financial results of Unity.


10.   Accordingly, GlassRatner calculated the financial performance undertwo scenarios to allocate

      member payments, management                  fees and the third-party administrator fees (see Table                             1



      below). Scenario         A   summarizes the        financial results             based on the       allocation of      member
      payments and       third-party administrator           expenses          currently asserted by Aliera.              Scenario B

      summarizes the      financial results      based on the           allocation of     member payments and              third—party

      administrator expenses currently asserted by Unity.                      The    allocation   assumptions are as        follows:



               i.   Scenario         A assumes 35% ofthe monthly payments for the bundled                             products are

                    allocated to Unity         and the   entire third-party administrator fee                is   a Unity expense;


              ii.   Scenario B assumes             68%   ofthe monthly payments for the bundled products are

                    allocated to Unity         and the   third-party administrator fee              is   991 a Unity expense;


             iii.   Both Scenario’s include an adjustment of the allocations related to Unity—only

                    products and the application fees; and


            iv.     The two         parties dispute    how        the   management        fee described      in    Section 4 of the

                    Agreement should be            calculated.          Both scenarios calculate the management fee

                    in   the   same way. A change                  in   the allocations affects the               management        fee

                    calculations. For         example, an increase              in   Unity allocations results       in   an increase

                    in   the   management        fee payable from Unity to Aliera.
           Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 7 of 20




                                                                         Table     1



              Unity Scenario Analysis on Financial Results (January                                 1,    2017 to June       30, 2019)
                        Description                  .I ‘ScenarioA                                    I
                                                                                                              ScenarioB           I
                                                                                                                                          Difference

 Total   Member      Contributions and Application Fees                           $ 113,806,092           $ 203,913,734               $    (90,107,642)

                                                  “1                                                           34,548,794                                -
 Anera Portion of Claims Expense                                                        34,548,794

 Total Contributions                                                              $ 148,354,885           $ 238,462,528               $    (90,107,642)

 Less: Claim Disbursements                                                             142,306,443            131,505,056                      10,801 ,386

 Contributions        in   Excess of Claims                                       $      6,048,443        $ 106,957,471               $   (1   00,909,029)

 Less: Aliera     Management Fee Per Contract Terms                                     13,166,442             27,747,332                  (14,580,891)

 Unity-Component Performance                                                      $     (7,117,999)       $    79,210,139             $    (86,328,138)

 Notes
  [1] 100%      of claims   expense    for thebundled product are recorded on the Unity general ledger. According to
      Aliera,   approximately      68%         2018 medical claims (in dollars) relates to the HCSM portion of the offering.
                                            of the
      As an     offset to this   additional expense recorded on the Unity general ledger, an equal amount has been
      allocated to Unity as additional revenue.




11.   As     illustrated      above    in   Table      1,   there   is    an $86       million variance        between the operating                    results

      using Scenario             A compared            to   Scenario         B. In      summary,     for      every   5%    change              in   allocation

      from Aliera       to Unity there            is   approximately an $11.4 million improvement to Unity’s financial

      performance.


12.   Receiver also           is in   the process of reviewing records regarding Aliera’s administration of the

      payment        of Unity      members’ requests                 to share medical             expenses. The Receiver                         will   review

      these records and processes to confirm that Aliera                                   is   administering the Unity                   HCSM        plans   in


      accordance with the plan documents.


      Next      Ster

13.   The Receiver plans to analyze the                       operating results post—June 201 9 and                        will       incorporate those

      results into      an updated versidn of the scenario analyses.


14.   The Receiver will continue to work with                            Aliera   and Unity to develop a              specific        recommendation

      on the amount of funds                 to   segregate,        if   necessary.


15.   After a resolution has been reached regarding the scenario analysis variances, GlassRatner

      and    Aliera    will   require at least 30 to                45 days       to    prepare financial statements                      in    accordance

      with   GAAP.
                 Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 8 of 20




    16.    The       plan   is    currently operating at a loss                and has been operating                at   a loss for the past few

           months as the number                      of existing   members has             significantly declined,           new members            could

           not be added, and the average cost of the sharing request has increased. Unity and Aliera,

           with approval from the Court, agreed to terminate the plan as of                                          November            18, 2019.   The
           members have              until   February       15,   2020    to   submit any healthcare expenses.


    17.    In    the interim, Aliera has agreed to fund an escrow account for the expected value of the




           -
             —
           healthsharing expenses to be processed through the

           date (February 15, 2020).

           payment,

           expenses         will


                       from Aliera
                                               of medical
                                                          Aliera estimates that from

                                                                  expenses
                                    be deposited from an anticipated

                                         into
                                                                                   will


                                                                                          _ _
                                                   a separate bank account to which the Receiver
                                                                                                 final    healthcare expense submission

                                                                                                   October 15, 2019 through the

                                                                                           be processed. The

                                                                                                         in   member        contributions

                                                                                                                            will   have access and
                                                                                                                                                  and
                                                                                                                                                     final

                                                                                                                                            of medical

                                                                                                                                                          I
           overéight.



3.0        Background

18.        In    2016, Aliera approached Anabaptist Healthshare (“AHS”),                                  who       is   the sole owner of Unity,

           about developing a business relationship.                               Aliera sold a direct primary care medical                       home
           product (“DPCMH”) which focuses on preventative and primary care. Anabaptist sold an

           HCSM        product which            is    an alternative      to traditional      insurance products where                     members        of

           similar religious/faith beliefs share                   in   the health care costs of              its   members.        Aliera proposed

           combining        this    DPCMH          product with the        HCSM for the         benefit of a         comprehensive           offering to

           the public.           In addition,      Aliera   would “develop networks, distribution channels, provide plan

           management and                    benefit coordination for health care services...throughout the United

           States”.4 In          November 2016, Anabaptist created                        Unity Healthshare,         LLC    to partner with Aliera

           to offer the      combined side—by—side product.


19.        In    February 2017, the two parties executed an Agreement between Anabaptist Healthshare,

           Unity Healthshare            LLC and         Aliera Healthcare, Inc. (the “Agreement”),                        which    is   attached to this

           Report      in   Appendix         25.   The Agreement established the                 following:


                a)   AHS    and Aliera        will    partner together         and enable       Aliera to market            and    sell   the two non-

                     insurance products (Le. the                  DPCMH        and   HCSM      products) to the publice;




4
    Page   1   of Agreement between Anabaptist Healthshare and Aliera Healthcare, Inc. dated February 2017.
[GR_000358].
5
  Agreement between Anabaptist Healthshare and Aliera Healthcare,                           Inc. dated   February 2017. [GR_000358            —   365].
6
    “Public markets means persons             who will acknowledge the standard afbelieﬁ' and other requirements as deemed
necessary by AHS”, page 2 0f the Agreement. [GR_000359].
                                                                               8
            Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 9 of 20




          b)    AHS         and Unity           will    market products through Aliera using                           their    DPCMH             model     of care,

                network, administration,                        call   center,           marketing, enrollment portal and other related

                services;


                AHS         is    granting Aliera an exclusive license to                           sell   and       distribute the Unity products to

                the public markets;


                During the term of the Agreement, Aliera                                    will   remain the sole and exclusive healthcare

                company allowed                    to   market and       sell    health care products;


                Aliera           is    “entitled to retain the ﬁrst                  monthly membership                      fee.    The second monthly

                membership fee payment                           shall also      be retained by Aliera                  to    be used        if   necessary      for

                Aliera or Unity                 expenses        .Thereafter,         any succeeding month(s) which the membership
                is   continued, Aliera shall be entitled to retain $25.00 per                                          member per month (“PMPM’9
                as payment                for its services”;7


                Unity       will      establish a ministry fund to further their charitable direction, which                                         will   receive

                the following:


                      i.          $2.00        PMPM; and

                     ii.          $25.00        for   each one—time application fee per membership.

                Eldon Hochstetler and Tyler Hochstetler,                                   who     are Anabaptist Healthshare,                      Inc. officers,

                will       each receive $2.50 per enrolled member                                  in   Unity Healthshare per month. This fee

                ($5.00           PMPM          in total) shall    be incurred by and paid by Aliera each month; and

          h)    Aliera will design                and implement          all    cost sharing plans, marketing materials, operational

                controls and general business banking for Unity                                         and   it’s   Healthshare operations.

        The    contract terms are further discussed                             in   the Court’s April 25, 2019 Order.


20.     The    Unity and Aliera products                      were marketed together                    to the       general public and required only

        one    contribution to                 be paid by the member. Aliera collected the payment from each member

        and then allocated a                      portion of the         payment between                      Aliera     and        Unity.        However, the
        Agreement does not specify any agreed upon                                                      allocation of the monthly                         member
        payments. The proper allocation was a disputed issue between the parties during their
        relationship              and     it   remains a disputed issue before the Court                                 in   the    litigation. Aliera         and

        Unity have materially different perspectives on                                     what the          allocation of         member         contributions

        should be.          As        a result, this     is   by far the largest issue affecting the financial                          results.



7
    Section 4 0f Agreement between Anabaptist Healthshare and Aliera Healthcare [GR_000359-GR_000360]
                                                                                     9
             Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 10 of 20




21.     Aliera has recently informed the Receiver that certain                             members made two separate payments
        — one        for the Aliera               DCPMH            product and one for the Unity            HCSM      product. Aliera has

        represented         this   occurred from               November 2016 through            July 2017. Further analysis       will       need

        to    be performed         to   assess the impact,               if   any conclusions.


22.     In    August 2018,          after failed mediation with Aliera,                    AHS/Unity terminated the Agreement.

        However, Aliera has continued                         to   administer the plans subject to a temporary restraining order,

        which was issued                in   December 2018.              After extensive on-going litigation          between the parties

        throughout early 201                 9,   the Receiver        was appointed on         April 25,   2019.


4.0     Receiver’s Activities

23.     Since the Appointment of the Receiver, Glade and his professionals                                             made     information

        requests to Aliera’s counsel to                        facilitate     the efforts described herein.        The Receiver and           his

        team       continually     met with               Aliera   and Unity representatives        to carry out the Receiver’s duties

        and       responsibilities.           GlassRatner            relied    upon these meetings and the review          of   documents

        (see      Appendix 3        for further details) in order to                 develop   this initial report.



24.     The       Aliera   team present              in   a majority of meetings and conference calls were:


             a)    James    F. Butler         III,   Vice President of Finance;


             b)    Ella Bikeeva, Controller;                  and

             c)    Aliera   Counsel (Bondurant Mixson & Elmore LLP).


25.     A    series of meetings also took place with Unity counsel represented by Alston                                   &   Bird LLP.



26.     In   order to meet the Receiver’s responsibilities as outlined above, GlassRatner performed the

        following procedures:



4.1          Member Pazments                                                                                                             ‘




             a)    Examined the          Aliera maintained Wells Fargo depository                      bank account statements from

                   inception through              June 20198.

             b)   Analyzed the Unity QuickBooks                         file   maintained by Aliera from inception through June
                                                                                                                                    '




                  2019;




8
    GR_001815 — GR_001822, GR_000867 — GR_00 1283,GR_001301 — GRH001409
                                                                                10
           Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 11 of 20




                Performed a reconciliation of the bank statements (noted above)                                    to the     member
                database      file;



                Performed a reconciliation of the               member database          file   to the supporting accounting

                records;


                Obtained an understanding of              how payments       are processed and accounted               for;   and

                Analyzed the allocation percentages applied                  to Aliera    and Unity regarding the shared
                products along with the necessary supporting documentation.



4.2        Management Fees
           a)   Reviewed the Agreement between Aliera and Unity (defined below)                               to   understand the

                financial    terms of the management fee;

                Obtained an understanding and analyzed the management fees as calculated by                                    Aliera;

                and

                Re—calculated the        management fee per the language of the Agreement as follows:                          “Aliera

                shall   be   entitled to retain the initial enrollment fee         and   the    first   monthly membership fee

                payment. The second monthly membership fee payment shall also be retained by Aliera,

                to   be used   if   necessary   for Aliera or    UHS   (“Unity’)   expense. Thereafter, any succeeding

                month(s) which the membership              is   continued, Aliera shall     be    entitled to retain   $25 PMPM
                                                     ’9
                as payment       for its services.


           d)   As noted      previously, the parties dispute          how   the   management           fee described   in    Section

                4 of the Agreementshould be calculated.



4.3        Healthcare Exgenses

           a)   Reconciled the healthcare expenses to the accounting records;


           b)   Gained an understanding           of the allocation of healthcare          expenses between the               DPCMH
                and   HCSM      products (defined below);

                Reviewed the          third-party claims administrator         agreement and reconciled the                  financial

                terms outlining the fee structure; and

                Refer to     Appendix 4 for further discussion on our procedures performed.




9
    Section 4 of Agreement between Anabaptist Healthshare and Aliera Healthcare            [GR_000359-GR_000360]
                                                                  11
           Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 12 of 20




4.4        Scenario Analysis of Financial Results

           a)   Gained an understanding              of the disputed business          terms and     their respective financial

                impact; and


           b)   Compiled a preliminary scenario analysis of                  financial results.




4.5        Develogment of Plan Termination
           a)   Facilitated       an agreement of terms between Aliera and Unity regarding the termination of

                membership           plans;   and

           b)   Established procedures to verify adequate funds are available and segregated                                in    order

                to fund the qualifying healthcare             expenses      run-out.



5.0      Receiver’s Preliminary Observations                    &    Analysis



27.      Per the Receiver’s Order, the “Receiver shall examine Aliera’s and Unity’s books and records

         as necessary       to    determine the     total   amount of funds     in Aliera’s    possession, custody, or control

         corresponding to the Unity                 HCSM     component of member              plans”1°. Aliera controlled          and

         managed      ail   cash receipts and disbursements. Depending on the operating results of the

         HCSM      component, Aliera would either owe funds                  to Unity or Unity     would owe funds        to Aliera.

         For example,        if   the operating results of the            HCSM    component       resulted    in   net assets      (i.e.


         contributions less disbursements) of                 $10    million, Aliera   would owe $10         million to Unity.      By

         contrast,   if   the operating results of the         HCSM       component     resulted    in   a Net Deficit   (i.e.,   Unity

         disbursements exceed Unity contributions) of $10                        million,   Unity would      owe $10      million to

         Aliera.   While performing our procedures              to   determine the Unity operating results           we   noted the

         following observations:



5.1      Commingled Funds

28.      Aliera maintained a single             bank account         in   which they commingled funds related                to their

         business venture with Unity as well as their non-Unity related interests with other partners.                              All


         Unity and non-Unity            member payment were                deposited    into   a Wells Fargo bank account

         (ending    _)            exclusively controlled by Aliera.




1°
     Order Entering Interlocutory Injunction and Appointing Receiver, page 29.
                                                                     12
              Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 13 of 20




29.      These member                  contributions are tracked within               Admin123, a customer database software
         administered by Aliera. The database tracks customer information such as address, date of

         birth,    date of enrollment, payment timing, payment method,                                       etc.



30.      The member payments recorded                      to the    Admin123         Files         fit   into   one   of six categories             — Bundled
         Products, Unity Non-Bundled Products, Unity Dental and Vision Products, Aliera Product




                                                     _
         Ryders, Application Fees and Products not associated with the Unity                                               -   Aliera platform. Refer

         to   Appendix 5          for further description of         these products.


31.      GlassRatner reconciled the                                       in   bank statement deposits                   for the period          January    1,




                                                                                                                   —
         2017 through June               30,   2019   to the   Admin123 files. Refer to Appendix 6 for our                                  Reconciliation

         Schedule.


32.      From review            of the    Admin123      files,   GlassRatner determined                                             was         received for

         the Unity          — Aliera   platform. Refer to        Appendix 7         for   our Schedule of Contributions by Product.


33.      Additional procedures                 were required by GlassRatner                    in    order to account for and                  manage      the

         commingling of                not—for—profit (Unity), for—profit (Aliera),                       and non-Unity payments. Refer                     to

         Appendix 8 for a summary                    of additional procedures performed to understand                                  and validate the
         data     in   the   Admin123       files.




5.2      Unreliable           and Incomplete Unity Financial Statements"

34.      The    Unity financial statements, as prepared by Aliera, are unreliable and inaccurate.                                                        They
         contained the following errors for which                     we made         adjustments with the input and assistance




         —
         of Aliera’s financial team.



5.2. 1


35.
         Member ngments / Application Fees

                                 of Unity-only products           were
         Unity contributions. GlassRatner identified that an additional

         should be recognized as Unity                  member
                                                                               sold, of




                                                                     contributions.
                                                                                          which Aliera only recorded

                                                                                                                    _ _                in
                                                                                                                                                           as

                                                                                                                                               contributions




ll
     James   Butler,    VP   0f Finance, and Ella Bikeeva, Controller, were not hired                      until   mid-2018    in the midst     0f signiﬁcant
growth (as evidenced by the $85.7 million revenue increase from 2017                      to   201 8). Shortly thereafter,         litigation    commenced
between Unity and Aliera, which placed additional                strain   on Aliera’s resources. Given               this situation,   it is   not   uncommon
for a   company        t0   be faced with these types of issues associated with ﬁnancial reporting. The Aliera accounting and
ﬁnance team have been cooperative               in assisting us in the execution      of our procedures.


                                                                           13
           Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 14 of 20




36.      _ _
         contributions.
                              of Aliera Product Riders

                                   None   of the
                                                              were



         but instead should be recognized as Aliera-only revenue.
                                                                         sold, of which Aliera              recorded

                                                                       should have been recognized as Unity contributions,
                                                                                                                             —                as Unity




37.      Based on       Aliera’s      methodology (which           is   contested by Unity),                member payments             for   bundled




38.
           _
         products would be allocated

         bundled product determined only 32.5%

         35%     results      in   an additional
                                                    35%      to Unity




         Per the Agreement, Unity should have been allocated $25 revenue
                                                                        was
                                                                        in
                                                                              and    65%


                                                                             Unity-related
                                                                                             to Aliera.          GlassRatner’s review of the

                                                                                  allocated to Unity. Adjusting this percentage to

                                                                                                    member        contributions.



                                                                                                                       for   each application       fee,




5.2.2
         fees and determined the Unity application fee revenue

         _,            such that Aliera should have received


         Management Fees
                                                                                  _
         with the balance retained by Aliera”. GlassRatner recalculated the allocation of application

                                                                                              was     overstated by approximately

                                                                                                     more        in   revenue.
                                                                                                                                                    -

39.      The management fee                 paid to Aliera   is   calculated on a per               member            basis, as follows”:


           a)
                 13‘
                       monthly membership payment;

                 2nd    monthly membership payment with the caveat that                                it   is   “to   be used    if   necessary     for
           b)

                 Aliera or Unity expenses”;           and

           c)    3rd monthly payment and thereafter at $25 per month.


40.      GIassRatner calculated the management fees based on the language outlined                                                             in   the

         Agreement described above. Our management fee                                      calculation      was        materially different than

                                                                                                                                                      13‘
         Aliera’s calculation primarily            due    to Aliera’s         methodology which included a $25 fee on the

         and    2““    payments       for select products“, instead of the                   full   monthly contribution.


41.      The    net effect of the methodology difference between Aliera’s                                        management        fee calculation

         and GlassRatner’s calculation               is   significant,        which    if   applicable,      would        result in $13.2 million

         more    in    fees   owed     to Aliera   as shown       in    Table 2 below. This             is   a disputed issue between the

         parties.




12
     Per Paragraph 7(d) of the Agreement between Anabaptist Healthshare and Aliera Healthcare [GR_000358
                                                                                                         — 365].
13
     Refer to Section 3.2 of the Agreement [GRM000360 — 361].
14
     Product ID’s: 17460, 17461, 17462, 17113, 17115, 17117, 20662, 20725, 20726, 17476, 17478, 17480, 16916,
                       17108, 17109, 17184, 17185, and 17186.
                                                                             14
               Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 15 of 20




                                                                                     Table 2




 _——_—_——                                                                 Mamement Fee Calculation
                                                                      '




                                                  '

                                                                                                                   ‘




                 2017                                      2018                          Jan.-Jun.2o19                                     'Total
       Alieram     I
                         Contract               Alieram       I
                                                                    Contract         §Alierh‘"     I
                                                                                                        Contracf            Aﬁera-    I
                                                                                                                                               Contract    I
                                                                                                                                                                Variance
                                                                                                                                                               $13,166,442

 Notes
 [1]   The management         fee   shown above does    not reconcile to Aliera‘s books and records as their calculations evolved as a result of on—going discussions.




5.3       Scenario Analysis of Financial Results

42.       Due to the                lack of reliable financial statements, GlassRatner developed schedules to calculate

          the actual financial performance.                               The    underlying data provided by Aliera allowed GlassRatner

          to     analyze the performance of the Unity                                   HCSM           plans.          We   noted the Agreement did not
                                                                                                                                                                                '




          expressly allocate the percentage of                                   member payments                 associated with the Aliera                      DPCMH
          component and the percentage                                    of   member       contributions associated with the Unity                                HCSM
          component. The proper allocation                                  is   a dispute between the parties that                       is    before the Court           in


          this litigation.             The Agreement                also did not expressly state that Unity would be responsible for

          expenses associated with the                                third-party administrator,                 whether such expenses are                          to    be
          allocated,            and      if   so, the allocation of               such expenses. The disputed issues have a material

          impact on the financial results of Unity.


43.       Accordingly, GlassRatner calculated the financial performance undertwo scenarios to allocate

          member payments, management                                      fees and the third-party administrator fees. Scenario                                           A
          summarizes the                      financial results           based on the           allocation of          member payment and                     third—party

          administrator expenses currently asserted by Aliera. Scenario                                                      B summarizes                 the financial

          results       based on the                  allocation of        member payments and                         third—party administrator               expenses
          currently asserted by Unity.



44.      The Scenario analyses use                                the following assumptions:


            a)     Member Payment                       Allocations:


                         i.          Scenario          A   assumes 35%               of the monthly             payments       for   bundled products                    are

                                     allocated to Unity              based on         Aliera’s research                and conclusions they believe are
                                     supported by the Brady                      Ware market             study report that           is    discussed below                 in

                                     paragraph 46; and

                        ii.          Scenario B assumes                        68%   of the      monthly payments              for   bundled products                    are

                                     allocated to Unity             based on the         split    of healthcare           expenses between the                   DPCMH
                                     and       HCSM        components.               Further discussion regarding this can be found                                        in


                                     paragraph 47 below.
                                                                                       15
              Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 16 of 20




              b)    Third—Party Administrator Fee (HealthScope):


                           i.          Scenario           A assumes the                 administrator fee                   is   exclusively a Unity expense; and


                          ii.          Scenario B assumes the tasks performed by the                                                          third-party administrator are

                                       part of the         scope      of services provided by Aliera                              in    earning their                   management fee,

                                       so as a          result,   the administrator fee should not be a Unity expense and be solely

                                       incurred by Aliera.


45.      The variance between                             the two scenarios               is   $86.3 million as                    illustrated previously in                                   Table        1.


         Table 3 below provides additional                                      details relating to the impact of Aliera                                  and           Unity’s respective

         allocation positions.

                                                                                         Table 3
                                                                                                                                                                    ‘




                                       Uriity     Scenario Financial Results (January                          1,2017 to June 30, 2019)                                 ~




                                                                                                              Scenario A     Scenario B  ,r                                       Difference
                                                                                                                                                                ‘
                                                                                                                    ‘        ’


                                              i

                                                  Description                                                           $                            $                                     $
                                                                                                                                                                                      ‘




  Cash Recelpts
        Bundled Products                                                                                                                                                     $        (90,     107,642)

        Unity Only Products

        Unity Portion of          Member Share Contributionsm                                                                                                                         (90,107,642)

        Unity Portion oprplication          Feesm
        Aliera Portion of Claims              Expensem

         Total Cash Receipts


  Cash Disbursements
     Claims Expensem
        ClaimsTPA Expense ”I                                                                                                                                                              11,356, 988

        Management Fees PerAliera Calculationm                                                                                                                                                 (555,601)

        Other Misc. Expensesle]
        Accrued Claims Estimatem

        Total Cash Disbursements                                                                                                                                                          10,801,386


  Net Receipts and Disbursements                                                                                                                                                      100,909,029




  Notes
  [1]
        Less:
              Additional        Management Fee Per Contract Termsm

  Net Receiptsand Disbursements After Management Fee Per Contrac $



        For bundled products. Scenan’o                  A was   caIculated as     35%
                                                                                                                        — _
                                                                                        ofthe monthly contribution (65% allocated
                                                                                                                                         $




                                                                                                                                                     to Aliera).
                                                                                                                                                                             $




                                                                                                                                                                            Scenario B
                                                                                                                                                                                          (14,580,891)


                                                                                                                                                                                          (86,328,138)




                                                                                                                                                                                             was
        calculated as           68%   ofthe monthly contribution (32% allocated to             Aliera).     Any stand alone            Unity product      was       calculated as           100%
        Unity.     Note   -     parties dispute the appropriate monthly contribution splits.
        PerAgreement Between Anabaptist Healthshare and                           Aliera Healthcare ("Agreement") (Bates                      GR_000362) $25 per                 application fee       is
  [2]

        allocated to Unity, remainder              is   retained by Aliera.

  [3] AII     expenses        related to claims forthe bundled product are presented                  on the Unity ﬁnancial statements. This includes the 32% of
        claims that relate to the Aliera portion of the bundled product.                    As an     offset to this additional expense on the Unity ﬁnancials, an

        equal amount has been allocated to the revenue side.
  [4]   Expense      related to third—party claims administrator, HealthScope.                      Scenario   A    represents         100%     of the   HealthScope expense with no
        allocation to Aliera.          Scenario B represents         0%   ofthe HealthScope expense allocated to Unity with                        100%     allocated to Aliera. The

        parties dispute          how   the expenses associated with Healthscope should be allocated between the parties.
        Aliera calculated their          management fee differently than the fees agreed upon in the Agreement. If Aliera calculated the                                             management
  [5]
                                                                                                                                                                                                    fees
        fee   based on GlassRatner’s understanding ofthe terms of the agreement, an                             additional                                                                     in


        would be owed to            Aliera.

  [6]   Other miscellaneous expenses such as                      rent! legal   and accounting      fees,   and wages allocated speciﬁcally                to Unity.


  [7]   This represents an estimate of incurred but unpaid outstanding claims owed as of6/30/19.

                                                                                               16
              Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 17 of 20




 5.3. 1   Allocation of Member                     Payments      for      Bungled Products

46.       Aliera     proposes an allocation              for the      bundled products payments of                   35%   to Unity    and        65%   to

          Aliera (Scenario A).                For example,       if   a   member pays             $400, then $140 would be allocated as

          a   member contribution                 to the Unity plan       and the remaining $260 would be retained by Aliera”.
          The       rationale for this split of           member share              contributions           is   based on an      HCSM           industry

          analysis performed by Brady                    Ware &       Schoenfeld,          Inc.    (which    was commissioned by             Aliera)”.

          The Brady Ware Report summarized purported market data                                            related to    comparable products.
          Aliera relied on the Brady                  Ware Report         estimates to support their allocation position of 35%.


47.       Scenario B           is    an allocation of the bundled product payments of                               68%   to Unity    and        32%    to

          Aliera. For        example,        if   a   member pays         $400, then $272 would be a                  member       contribution to

          the Unity plan and the remaining $128 would be retained by Aliera”.                                             The    rationale for this

          split of   the     member share payments               is   based on the healthcare expenses, where the                           allocation

          of the contributions             would match the actual medical expenses ofthe Aliera and Unity products.

          According          to Aliera,     approximately        68%       of the   2018 medical expenses                 (in   dollars) relates to

          the   HCSM         portion of the offering; therefore, Unity believes                        it   should receive       68%    of       member
          contributions for bundled products to pay these expenses.                                    Depending on which             allocation        is


          utilized,    the Unity        membership        contribution could be either                $112 million (Scenario A)                  or   $202
          million (Scenario B), a difference of $90 million.


5.3.2     Management Fees

48.       Ultimately, the           member payment          allocations          have a     significant effect       on the management fee.
          For example, assuming a monthly payment of $400 and an allocation                                               to Unity of   35%, then
          Aliera     would be        eligible to retain     $140 per month                for the first     two months. lfthat same $400
          payment       is   allocated      68% to      Unity, Aliera      would be         eligible for     a    management fee       of   $272 per
          month      for the    first   two months. As previously shown                       in   Table     3,   based on these adjustments
          the variances         in   the   managementfee           calculation       is   as much as $14.6 million. As noted above,

          the allocation issue and the                  amount   of the      management             fee are disputed issues between the

          parties.




'5
     $400 x   = $140. $400 - $140 = $260
              .35
‘6
   Brady Ware Analysis of Healthcare Plan Pricing dated March                       8,    2019, with an effective date of October 3         1,   2018
(the “Brady Ware Report”) [GR_000322 — 000342].
17
   $400 x .68 = $272. $400 - $272 = $128.
                                                                            17
             Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 18 of 20




5.3.3   TPA Expense — HealthScope

49.     Another disputed item relates           to the claims        TPA expense. These are fees paid to                      HealthScope

        for administering the healthcare                    expenses.       Aliera     proposes the         full    expense should be

        allocated to the Unity books, consistent with                   how Aliera recorded           the expense on the general

        ledger.    Unity contends that the tasks performed                            by HealthScope are included                     in    the

        responsibilities of the         manager   (Aliera)        as defined     in   the Agreement. Therefore, this expense

        should be borne exclusively by Aliera.                       This dispute results            in   a $11.3 million variance

        between the two          parties.



6.0     Next Steps


6.1     Qetermination of Funds in Aliera’s Possession Corresponding to Unity                                               HCSM

50.     The     net receipts      and disbursements represent the net assets of the Unity                                     HCSM         plan;

        however,    this       does not equate    to the          amount    of dollars held by Aliera corresponding to the

        Unity   HCSM       plan (amounts       owed from           Aliera to Unity).         When    calculating the final          amounts

        owed from       Aliera to Unity,     we need         to   take into account the $4.6 million of cash frozen and

        controlled by Unity        in   August 2018. These             dollars   will   need    to   be   offset from       any net assets

        calculation to determine the true dollars                  owed from      Aliera to Unity.



51.     Based on the       size of the      $86 million variance between the operating                       results       under Scenario

        A and     Scenario       B, the Receiver       is   unable to   make     a specific recommendation on the amount

        offunds    to   segregate at      this time.    For every      5%   change       in   allocation from Aliera to Unity there

        is   approximately an $11.4 million increase to Unity’s net cash receipts.


52.     The Receiver plans to analyze            the operating results post—June 201 9 and                         will   incorporate those

        results into    an updated version of the scenario analyses.


53.     Additionally, the Receiver will continue to                   work with        Aliera   and Unity          to    develop a specific

        recommendation on the amount               of funds to segregate,               if   necessary.



6.2     Preparation of GAAP Finaﬂcial Statements


54.     After a resolution has          been reached regarding the scenario analysis variances, GIassRatner

        and    Aliera   will   require at least 30 to         45 days      to   prepare financial statements                 in   accordance

        with   GAAP. Once         the   GAAP financial        statements are          finalized, a financial            statement audit can




                                                                      18_
           Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 19 of 20




      commence. When the                       audit    is   complete,          Unity   will    be able    to        submit the appropriate

      documents           in   connection with         its   status as a non—profit entity.


55.   The Receiver has and                     will   continue to speak with the parties to attempt to negotiate a

      compromise and settlement                       of the terms      o_f   the Agreement that are            in   dispute.




6.3   Plan Termination and                    Semation of Funds
56.   The    plan    is   currently operating at a loss                   and has been operating                at   a loss for the past few

      months as the number                    of existing      members has          significantly declined,             new members          could

      not be added, and the average cost of the sharing request has increased. There                                               is   no   ability

      to sign   up new members so the plan                       will     continue to operate at a loss. Therefore, Unity and

      Aliera, with        approval from the Court, agreed to terminate the plan as of November 18, 2019.

      The members              will   have    until   February    15,     2020    to submit      any healthcare expenses.




                                                                                                                      _
57.   In   the interim, Aliera has agreed to fund an escrow account for the expected value of the




                                                             _
      medical expenses to be processed through the                                  final   submission date (February 15, 2020).

      Aliera projected from                   October    15,    2019 through the               final   payment,                    of medical

                                                                                                                                                I
      -
      expenses

                in
                     to        be processed. The

                     anticipated

      which the Receiver
                                         member
                                       will
                                                        contributions

                                              have access and oversight.
                                                                              of medical

                                                                              and
                                                                                               expenses



                                                                                        In addition,
                                                                                                            will




                                                                                                         the Receiver
                                                                                                                      be funded through

                                                                                                                            into

                                                                                                                            will
                                                                                                                                   an account

                                                                                                                                   be provided

      the weekly HealthScope funding requests.                                  The combination           of account access             and the

      HealthScope funding requests                      will   allow the Receiver to ensure               all   eligible   remaining claims

      will   be paid and determine               if   the escrow     is   appropriately funded.




                                                                           19
       Case 1:20-cv-02429-AT Document 26-3 Filed 08/14/20 Page 20 of 20




Respectfully Submitted,


Marshall Glade, Receiver




By:
        WW4               MAC
Marshall Glade
GlassRatner Advisory & Capital Group LLC
3445 Peachtree Road
Suite 1225
Atlanta, GA 30326




November   22”“,   2019




                                           20
